EXHIBIT 1
UNITED STATES BANKRUPTCY COURT
WESTERN DISTRICT OF NEW YORK

    In re:
                                                                       Case No. 19-20905
    The Diocese of Rochester,
                                                                       Chapter 11
                                                   Debtor.



    [PROPOSED] ORDER GRANTING MOTION OF THE OFFICIAL COMMITTEE OF
    UNSECURED CREDITORS FOR AN ORDER GRANTING LEAVE, STANDING, AND
     AUTHORITY TO PROSECUTE CERTAIN CAUSES OF ACTION ON BEHALF OF
                      THE DEBTOR AND ITS ESTATE

             Upon consideration of the Motion of the Official Committee of Unsecured Creditors for an

Order Granting Leave, Standing, and Authority to Prosecute Certain Causes of Action on Behalf

of the Debtor and Its Estates [Docket No. [_]] (the “Motion”)1 filed by the Committee in the above-

captioned chapter 11 case; and the Court having jurisdiction over this matter pursuant to 28 U.S.C.

§§ 157 and 1334; and the Court having found that this is a core proceeding pursuant to 28 U.S.C.

§ 157(b)(2); and venue in this District being proper pursuant to 28 U.S.C. §§ 1408 and 1409; and

this Court having considered (i) the Motion, (ii) the objections to the Motion, and (iii) the

arguments presented by counsel during the hearing on the Motion conducted on [___]; and

adequate notice of the Motion having been given; and after due deliberation and good cause

appearing therefor, it is hereby ORDERED that:

             1.     The Motion is GRANTED.

             2.     The Committee is authorized to file the Complaint in substantially the form

attached hereto as Exhibit 1 and to prosecute the Causes of Action against CNA on behalf of the

Debtor.



1
    All capitalized terms used but not defined herein have the meanings given to them in the Motion.



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        3.       The Court shall retain jurisdiction to hear and determine all matters arising from or

related to the implementation, interpretation, or enforcement of this Order.

 Dated:      Rochester, New York
             October __, 2023


                                          UNITED STATES BANKRUPTCY JUDGE




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